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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.
                                                               Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                 Defendant.


                                              ORDER

       Through the Classified Information Security Officer (“CISO”) designated in this case,

Defendant submitted to the court and the government a classified “notice pursuant to CIPA § 5

and an objection to redactions in certain of the classified discovery produced by the Special

Counsel’s Office.” See ECF No. 121 (publicly reporting the fact of that submission). On pages

28–29 of its classified submission, the defense states that certain classified discovery material it

received included redactions, and that when the defense asked the government for an unredacted

version of that material, the government took the position that the redacted information was not

discoverable. Accordingly, it is hereby ORDERED that by November 22, 2023, the government

shall, through the designated CISO, submit a brief setting forth its position on why the redacted

information is not discoverable, including an explanation—if applicable—whether the

prosecution team made those redactions (and if so, why), or only possesses the material in its

redacted form.



Date: November 8, 2023

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge

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